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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF ILLINOIS

  DEMAURION DAVIS and ACCESS NOW,
  INC., individually and on behalf of all others
  similarly situated,

                          Plaintiffs,                       No. 3:17-cv-00217-DRH-DGW

         v.


  FKG OIL COMPANY d/b/a MOTOMART,

                          Defendant.


                             JOINT STIPULATION OF DISMISSAL

        Pursuant to Rule 41 of the Federal Rules of Civil Procedure, Plaintiffs DeMaurion Davis

 and Access Now, Inc. (“Plaintiffs”) and FKG Oil Company d/b/a Motomart, by and through their

 undersigned counsel hereby stipulate that:

        1. This action shall be DISMISSED, with prejudice as to the claims of Plaintiffs and

              without prejudice as to the claims of putative class members;

        2. No motion for class certification has been filed and no class has been certified in this

              action; therefore, class notice and court approval of this dismissal are not required

              under the Federal Rules; and

        3. Each party shall bear their own costs and fees, including attorneys’ fees, incurred in

              connection with this action.
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 Respectfully Submitted,


  /s/ Matthew H. Armstrong                  /s/ Michael Armstrong (w/consent)
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served upon

 all counsel of record via the Court’s electronic filing system on July 24, 2017.

                                                           /s/ Matthew H. Armstrong________




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